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                           UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA
                                                         Case No. 1:18-cr-00401-BLW-2
            Plaintiff,
                                                         ORDER GRANTING
             v.                                          DEFENDANT’S MOTION TO
                                                         STRIKE
  STEVEN TODD THOMPSON,

            Defendant.



                                        INTRODUCTION

        Defendant Steven Todd Thompson is scheduled to appear before the Court

for sentencing in this matter on June 19, 2020. Currently pending before the Court

is Defendant’s motion to strike Exhibit 1 to the government’s sentencing

memorandum (Dkt. 352), or in the alternative, to continue sentencing for 45 days

to allow Defendant time to prepare a response to the Exhibit. Dkt. 354. After

considering the motion and the government’s response1 (Dkt. 357), for the reasons

explained below, the Court will grant the motion.


        1
          This order addresses the Defendant’s motion as to the sentencing memorandum filed as Docket
352. Although the Court notes the government has agreed to strike Exhibit 1 and further amend the
memorandum (see Dkt. 357; Dkt. 358), the motion still stands as the government disagrees that it
materially breached the plea agreement by filing the first sentencing memorandum. Therefore, the issue is
not wholly moot and the Court provides this order.



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                                          BACKGROUND

        On January 15, 2020, Defendant entered into a written plea agreement with

the government. Dkt. 275. Therein, the parties agreed that the Defendant would

plead guilty to Count One of the Third Superseding Indictment, which charges

Defendant with conspiracy to distribute controlled substances, in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(C), and 846. Id. at 1.

        In exchange for Defendant’s admission, the government agreed, at the time

of sentencing, to dismiss Counts Two and Three, as well as to recommend a

sentence within the applicable advisory guideline range as determined by the

Court. Id. The parties also stipulated that Defendant’s base offense level is 26, and

that Defendant was a minor participant in the offense pursuant to U.S.S.G. §

3B1.2(b)—which would entitle him to a two-level decrease in offense level.2 Id. at

6-7. This reduction was also contemplated by the United States Probation Officer

(USPO) in the Presentence Investigation Report (PSR).




    2
      Application Note 5 provides that §3B1.2(b)’s 2-level reduction for minor participants applies to
defendants who are “less culpable than most other participants in the criminal activity, but whose role
could not be described as minimal.” The Ninth Circuit has held that district courts must consider the
factors enumerated in the guideline and “compare the defendant’s involvement to that of all likely
participants in the criminal scheme for whom there is sufficient evidence of their existence and
participation. United States v. Diaz, 884 F.3d 911, 916 (9th Cir. 2018).




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                                  DISCUSSION

      In the motion to strike, Defendant argues that the government has materially

breached the terms of the plea agreement through the arguments presented in its

sentencing memorandum, which as Defendant argues, portrays his “role in the

offense as an aggravated one” rather than a minor role. Dkt. 354-1 at 2. In

particular, Defendant argues the Court should enter an order striking Exhibit 1 to

the memorandum so he can receive the benefit of his plea agreement bargain. The

Defendant argues also that the Court should prohibit the government from

presenting evidence or argument that he was more than a minor participant at

sentencing. In response, the government argues it has not materially breached the

plea agreement, but, out of an abundance of caution, agrees the Court should strike

Exhibit 1 and all references thereto within the sentencing memorandum, as well as

Exhibit 2 and all references thereto within the sentencing memorandum. See Dkt.

357. The government has submitted an amended sentencing memorandum

reflecting these amendments. Dkt. 358.

      In each sentencing memorandum, the government argues the Court should

“sentence the Defendant to a term of imprisonment within the advisory guideline

range followed by three years of supervised release.” Dkt. 352 at 1; Dkt. 358 at 1.

The first memorandum noted that the PSR, which was also used for the other co-

defendants in the case, “contains minimal information about Defendant’s


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involvement in the conspiracy beyond the drugs found in his house.” Dkt. 352 at 2.

In each memorandum, the government stated it was providing the Court with

additional information “for the sole purpose of responding to Defendant’s request

for a downward variance” and to support its argument for a sentence within the

advisory guideline range. Id.; Dkt. 358 at 2.

      The government proceeds to provide details of Defendant’s alleged

participation in drug trafficking with codefendant David Roberts and others in

detail specific to Defendant and beyond that included in the PSR. Dkt. 352 at 2-6;

Dkt. 358 at 2-6. After doing so, the government notes, however, that Defendant

was a minor participant. Dkt. 358 at 6. In the first sentencing memorandum, the

government argued that the additional evidence shows “the further reduction, as

requested by Defendant in his written notice for a downward variance, is not

warranted.” Dkt. 352 at 6 (emphasis added).

      Exhibit 1 to the government’s first memorandum is the post-Miranda

interview of a co-defendant after his detention and arrest. Dkt. 352-1 at 1-3. The

interview includes specific questions about the co-defendant’s knowledge of and

involvement with Defendant related to the drug trafficking scheme. Id. at 2.

Defendant argues this information “seeks to inflate [Defendant’s] role as some

kind of near equal to David Roberts” and thus materially violates the plea

agreement’s minor role provision. Dkt. 354-1 at 3. Indeed, in the first


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memorandum the government argued that, Defendant “was more involved that he

would like the Court to believe. His involvement spanned a lengthy period. His

conduct involved not just selling methamphetamine for Roberts but also assisting

Roberts with transporting the methamphetamine and alerting Roberts to avoid law

enforcement detection.” Dkt. 352 at 7.

      A criminal sentencing “must be attended by safeguards to ensure the

defendant what is reasonably due in the circumstances.” Santobello v. New York,

404 U.S. 257, 262, (1971). When a guilty “plea rests in any significant degree on a

promise or agreement of the prosecutor, so that it can be said to be part of the

inducement of consideration, such promise must be fulfilled.” Id. As such, a plea

bargain may be enforced through specific performance.

      Defendant cites United States v. Brannum in support of the motion to strike.

804 F. App’x 798, 799 (9th Cir. 2020). There, the parties stipulated in the plea

agreement that “the total tax loss to the Government… was $101.555.00.” The

probation officer relied on the figure in drafting the PSR and making a sentencing

recommendation. Id. However, the government’s sentencing memorandum

contended that the defendant “actually caused a tax loss of approximately $3.3

million” and sought a significantly higher sentence than that recommended in the

PSR. Id.




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      This Court found the government had not breached the agreement by citing

the higher figure, but did not consider the figure at sentencing. Id. The Defendant

appealed on the issue of whether the prosecutor’s statement in the sentencing

memo, as a matter of law, constituted a breach of the plea agreement. Id. The Court

of Appeals for the Ninth Circuit found the government’s reliance on the higher loss

figure “at sentencing” was a breach of the unambiguous tax loss stipulation figure

in the plea agreement. Id. On appeal, the government argued the plea agreement

figure represented only the “criminal losses” for Guidelines purposes, rather than

the actual total loss of tax revenue, which could be used in applying the 18 U.S.C.

§ 3553(a) factors. In explaining its ruling, the Ninth Circuit noted that the

government’s reservation of a right to allocute in favor of a guidelines sentence

“did not allow it to do so in a manner at odds with other express stipulations.” Id.

      The teaching of Brannum, as well as the cases upon which it relied, is that a

defendant is entitled to the full benefit of the bargain struck in his or her plea

agreement with the government. And, as a corollary, the government may not

make any argument or submit any evidence in the sentencing process which is

inconsistent with the commitments it made to the defendant in the plea agreement.

      So what was the parties’ agreement here? We start with the provision in

which the government reserved the right to “allocate fully at sentencing regarding

any sentencing recommendation,” and to present “any information . . . in support


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of its recommendation,” even if that information is not contained in the pre-

sentence investigation report. However, that right is not absolute. Rather, the

parties agreed that any restriction on the government’s ability to present evidence

at sentencing, “must be specified in [the plea] agreement.”

      One such restriction on the government is contained in ¶ B(4) of the plea

agreement, which provides that “The parties agree the Defendant was a minor

participant in the offense pursuant to U.S.S.G. § 3B1.2(b).” Reading these

provisions of the plea agreement together, the government agreed, not only to the

defendant receiving the minor participant 2-level downward adjustment, but also

that it would not present anything at sentencing that would contradict such a

finding by the Court. Thus, the government is precluded from offering any

evidence or argument that would contradict a finding that Defendant is “less

culpable than most other participants in the criminal activity” after comparing his

involvement with that of all likely participants in the criminal scheme. United

States v. Diaz, 884 F.3d 911, 916 (9th Cir. 2018).

      Finally, we turn to the question of whether the government’s sentencing

memorandum, including Exhibit 1, can be construed as undermining or

contradicting Defendant’s entitlement to the minor role in the offense adjustment.

Here, the government has indicated that, in opposition to Defendant’s request for a

variance, it intends to present evidence of Thompson’s arguably significant


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involvement in the overarching drug trafficking scheme. That evidence is primarily

contained in Exhibit 1 to the government’s sentencing memorandum. After review,

the Court finds the information contained in Exhibit 1 is at odds with the express

stipulation that Defendant played only a minor role in the drug trafficking scheme

and activities of David Roberts and others. As such, the Court will grant

Defendant’s motion to strike Exhibit 1. Given the government’s response to the

motion, the Court finds the amended sentencing memorandum comports with this

finding. The Court will also strike Exhibit 2. The Court cautions the government

from providing any allocution at sentencing at odds with the express stipulation of

Defendant’s minor role.

      The Court also finds, however, that the government has not implicitly argued

that the Court should reject the parties’ agreement regarding the two-level minor

role reduction. The government’s memorandums, both first and amended, include

reference to its stipulation and agreement to the two-level reduction. In other

words, the government has not “forcefully argued a sentence other than the

stipulated one” and thus has not “denied the defendant a united front” on the issue.

See United States v. Heredia, 768 F.3d 1220, 1235 (9th Cir. 2014).

      It seems appropriate to give further direction to the parties on this issue.

Both the government and Defendant agreed that he was a minor participant in the

offense under the guidelines. The government cannot contradict that agreement;


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but, if Defendant argues for a variance because the agreed-upon, 2-level

adjustment under §3B1.2(b) inadequately reflects how limited his role was in the

conspiracy, the government is entitled to rebut that argument. That rebuttal must be

limited to arguing that Thompson’s conduct was “less culpable than most other

participants in the criminal activity,” but that his “role could not be described as

minimal.” This provides the government and Defendant with the benefit of the

bargain they reached in executing the plea agreement.

      If, after review, the Defendant believes the amended sentencing

memorandum fails to adequately address the motion to strike, the Defendant must

file a subsequent notice or motion with the Court. Further, considering the Court’s

findings above, if the Defendant objects to me presiding as the sentencing judge,

Defendant must file a motion for reassignment to another District Judge.

      Absent further motion, the Court will not continue the sentencing hearing set

for June 19, 2020.

      IT IS SO ORDERED.
                                                      DATED: June 18, 2020


                                                       75.�w�
                                                      B. Lynn Winmill
                                                      United States District Judge




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